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AO 106 (Rev. 01/09) Application for a Search Warrant
PESTER DIST ARKAN

 

 

UNITED STATES DISTRICT COURT FILED "SAS
for the APR / / 2017
Western District of Arkansas DouG
Fayetteville Division By LAS F, YOUNG, Clerk
Deputy Clerk

In the Matter of the Search of
Bitcoing Wallets:
- IKXhP8nUtNzjJKFGQQXDFubhMQ8LfVdkJ2Y

)

Case Number; ay Tp Cwt- s G
- NFAUpuGFa2HHygsHTsYZp7rLki89VZb5ye )

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- MyJFDbxQbNh6jUJVwxX9yJL2kaAfcbd9uwr

- 42DpM2KJjD2HVVAqLasNpJ2AF9fiw72x9j
GEHZA7DtXMYjUgqMYg6D3WbwaVe4vU
MveKAZAiA4j8xgUi29TpKXpm3y9FQS2

- 17F5rCCPArYwe4pN4amA4naG99D3cCu6F7

All from digital devices owned and maintained by Peng CHANTHALANGSY

APPLICATION FOR A SEARCH AND SIEZURE WARRANT

I, a federal law enforcement officer or an attorney for the government, request a search and seizure warrant and
state under penalty of perjury that I have reason to believe that there is now concealed on the following person or
property located in the Western District of Arkansas (identify the person or describe property to be searched and give its location):

SEE ATTACHMENT A

The person or property to be searched and seized, described above, is believed to conceal (identify the person or
describe the property to be seized): Bitcoin--SEE ATTACHMENT B

The basis for the search and seizure under Fed. R. Crim. P. 41(c) is (check one or more):
_X___ evidence of a crime;
__X__ contraband, fruits of crime, or other items illegally possessed;
__X___ property designed for use, intended for use, or used in committing a crime;
_____ a person to be arrested or a person who is unlawfully restrained.

The search and seizure is related to a violation of 18 U.S.C. § _2251/2252 and 21 U.S.C. § 841, and the
application is based on these facts:

_X____ Continued on the attached sheet—Attachment C. tl

Applicant's signature
Gerald F. Faulkner, HSI SPECIAL AGENT

Sworn to before me and signed in my presence.

Date: u] "7 huh Ae ‘ W Web owen?

Judge's signature

 

City and state) —| FAYETTEVILLE AR _ERIN WIEDEMANN, US MAGISTRATE JUDGE __

Printed name and title
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ATTACHMENT A
DESCRIPTION OF PROPERTY TO BE SEARCHED AND SEIZED

Bitcoin wallet numbers:

- 1KXhP8nUtNzjKFGQQXDFubhMQ8LfvdKJ2Y

- NFAUpuGFa2HHygsHTsYZp7rLki89VZb5ye

- MyJFDbxQbNh6jUJVwXx9yJL2kaAfcbd9uwr

- 42DpM2KIjDZHVVAqLasNpJ2AF9fiw72x9jGEHZA7 DtXMYjUgqMYg6D3WbwaVe4vUMveKAzAiA4j8xg
Ui29TpKXpm3y9FQS2

-  17F5rCCPArYwe4pN4amA4naG99D3cCu6F7

All from digital devices owned and maintained by Peng CHANTHALANGSY
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ATTACHMENT B

DESCRIPTION OF ITEMS TO BE SEARCHED AND SEIZED

1. Any and all hidden services accounts! used in furtherance of the offenses described
above, including, but not limited to, Dark Web / Darknet market accounts,
associated Dark Web / Darknet forum accounts and Tor-based email accounts.

2. Any and all peer to peer (P2P) virtual currency trading platform accounts, with no
legitimate or identified service provider to which legal process may be served, used in
furtherance of the offenses described above, including, but not limited to,
localbitcoins.com? accounts or bitcon-otc internet relay chat channel? accounts.

3. Virtual currency in any format, including but not limited to, wallets (digital and
paper), public keys (addresses), bitcoin, bitcoin miners, crypto-currency, and
private keys.

 

' Hidden services (.onion services) are accessed through the Tor anonymity network. Most are considered dark web
services with no legitimate or identified service provider to which legal process may be served.

* LocalBitcoins, OY (and their associated web platform, localbitcoins.com “LBC”) is a Finnish company which is
not a licensed money transmitting business registered with the U.S. Government and compliant with the Bank
Secrecy Act, which requires establishment and maintenance of anti-money laundering (AML) programs in
accordance with know your customer (KYC) rules, such as identifying persons involved in currency transactions
over certain thresholds. LBC is not considered a legitimate service provider to which legal process may be served
for accurate subscriber information or account seizure.

> Internet Relay Chat (IRC) is a decentralized chat system which enables people with an installed client (computer
program which sends and receives messages to and from an IRC server via the internet) to join in live discussions
with anyone else connected in the same manner. The IRC server ensures that all messages are broadcast to everyone
participating in a discussion. There can be many discussions going on at once; each one is assigned a unique
channel. One such channel is #bitcoin-otc, in which virtual currency trades are negotiated and atranged. All
transactions that may occur are conducted directly between counterparties, without any participation or
intermediation from the hosts of IRC servers, and therefore no entity to which legal process may be served for
accurate subscriber information, transactional history or account seizure.
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ATTACHMENT C

UNITED STATES DISTRICT COURT
FOR THE WESTERN DISTRICT OF ARKANSAS

STATE OF ARKANSAS
ss) AFFIDAVIT

COUNTY OF WASHINGTON

Affidavit in Support of Application for Search and Seizure Warrant

I, Gerald Faulkner, being duly sworn, depose and state as follows:

1. I am a Special Agent with the Department of Homeland Security, Homeland
Security Investigations (“HSI”), currently assigned to the Assistant Special Agent in Charge
Office in Fayetteville, Arkansas. I have been so employed with HSI since April, 2009. As part
of my daily duties as an HSI agent, I investigate criminal violations relating to child exploitation
and child pornography including violations pertaining to the illegal production, distribution,
online enticement, transportation, receipt and possession of child pornography, in violation of 18
US.C. §§ 2251, 2251A, 2422(b), 2252(a) and 2252A. I have received training in the area of
child pornography and child exploitation, and have had the opportunity to observe and review
numerous examples of child pornography (as defined in 18 U.S.C. § 2256) in all forms of media
including computer media. I have also participated in the execution of numerous search warrants
and arrest warrants, a number of which involved child exploitation and/or child pornography
offenses. This affidavit is being submitted based on information from my own investigative
efforts as well as information obtained from others who have investigated this matter and/or have

personal knowledge of the facts herein.
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Purpose of Affidavit

2. Your Affiant respectfully submits there exists probable cause that the SUBJECT
ACCOUNTS contain digital currency used to facilitate the purchase or sale of illegal
narcotics/child pornography, or instrumentalities of such, involved in violations of Title 18,
United States Code, Sections 2252/2252A (Trafficking and Possession of Child Pornography)
and Title 21, United States Code, Sections 841 (Distribution of a Controlled Substance).
described as:

a. Bitcoin digital currency wallets owned and maintained by Peng

CHANTHALANGSY, identified by Bitcoin wallet numbers:

- IKXhP8nUtNzjJKFGQQXDFubhMQ8LfVdKJ2Y

- NFAUpuGFa2HHygsHTsYZp7rLki89V Zb5ye

- MyJFDbxQbNh6jUSVwxX9yJL2kaA febd9uwr

- 42DpM2KJjD2HVVAgLasNpJ2AF 9fiw72x9jGEHZA7DtXM YjUgqMYg6D3 WbwaVe4vU
MveKAzAiA4j8xgUi29T pK Xpm3 y9FQS2

- 17F5rCCPArYwe4pN4amA4naG99D3cCu6F7

(herein after referred to as SUBJECT ACCOUNTS) described in Attachment A of these
Applications in addition constitute evidence, fruits and instrumentalities of violations of Title 18,
United States Code, Sections 2251 and 2252 AND Title 21, United States Code, Sections 841.
As such, it does not include all of the information known to me as part of this investigation, but
only information sufficient to establish probable cause for the requested search warrant and

seizure warrant.
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Statutory Authority

3. This investigation concerns alleged violations of Title 18, United States Code,
Sections 2251 and 2252, relating to Child Pornography AND Distribution of a Controlled
Substance, Methamphetamine in violation of Title 21, United States Code, Sections 841.

a. Under 18 U.S.C. 2251 and 2252, it is a federal crime to Receive, Distribute,
Possess, or Access a device with the Intent to view Child Pornography as that
term is defined by federal law

i. The term “minor,” as used herein, is defined pursuant to Title 18,
United States Code, Section 2256(1) as “any person under the age of
eighteen years.” The term Child Pornography, as used in this affidavit
herein, is defined in Title 18, United States Code, Section 2256(8), to
include the use of a minor engaged in sexually explicit conduct.
Sexually explicit conduct is likewise defined in Section 2256(2), to
include sexual intercourse, oral and anal sex, masturbation, and

lascivious exhibition of the genitals.

b. Title 21, United States Code, Sections 841, it is a federal crime to distribute,
sale, or exchange for value any controlled substance, including

Methamphetamine.

4, There is also probable cause to believe that property contained in the SUBJECT

ACCOUNTS are subject to seizure and forfeiture:

e Pursuant to Title 18, United States 18 U.S.C. § 2253, upon conviction of an

offense listed in violation of 18 United States Code, Section 2252/2252A
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(collectively “Child Pornography” offenses), the defendant shall forfeit any
property, real or personal, used or intended to be used to commit or to
promote the commission of the offenses .

e Pursuant to Title 21, United States Code, Section 853, upon conviction of an
offense in violation of Title 21, United States Code, Sections 841, 846, and
856 the defendants, shall forfeit to the United States of America any property
constituting, or derived from, any proceeds obtained, directly or indirectly, as
the result of such offense[s] and any property used, or intended to be used, in
any manner or part, to commit, or to facilitate the commission of, the

offense(s).

e IT is the intent of the United States, pursuant to Title 18 U.S.C. § 2253(b),
incorporating by reference Title 21 U.S.C. § 853 to seek forfeiture of any

other property of said defendants up to the value of the above forfeitable

property.

SURFACE WEB — DEEP WEB —- DARK WEB / DARKNET
5. The Surface Web is defined as a collection of hyperlinks that are indexed by
search engines. These search engines, such as “Google”, allow users access to website
pages/content that are accessible through the Surface Web and is most commonly used by most
individuals accessing the Internet without the use of any special programs or networks.
6. The Dark Web / Darknet and the Deep Web consist of website pages and data that

are beyond the reach of Surface Web search engines. Some of what makes up the Deep Web /
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Darknet is comprised of abandoned, inactive web pages, but the majority of data that lies within

have been crafted to deliberately avoid detection in order to be utilized anonymously.

      
 

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A small portion of the Deep Web that is

 

Things your typical search engine can't intentionally hidden and made

  

Anything that can be found via a typical

   

search engine (Google Chrome, Safari, find (government databases, libraries, inaccessible via search engines (the

     
 

etc.) etc.) Tor network, only accessible via Tor

  

browser)

7. The Dark Web / Darknet is an overlay network that can only be accessed with
specific software, configurations, or authorizations, often using non-standard communication
protocols and ports. Two typical Dark Web / Darknet types are peer-to-peer networks (usually
for file sharing) and privacy networks such as TOR.

TOR (“The Onion Router”)

8. TOR stands for “The Onion Router” which is a network typically decentralized,
routing traffic through a wide-spread system of servers, which are often provided by volunteers.
The complex routing system makes it difficult to trace communications. Normally, when
accessing the Surface Web, a computer directly accesses the server hosting the website a user is
visiting. In a TOR network, this direct link is broken, and the data is instead bounced around a
number of intermediaries before reaching its destination. The communication registers on the
network, but the transport medium is prevented from knowing who is doing the communication.
TOR makes a popular “Onion Router” that is fairly user-friendly for anonymous communication

and accessible to most computer operating systems. TOR directs Internet traffic through a free,
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worldwide, volunteer network consisting of more than seven thousand relays to conceal a user’s
location and usage from anyone conducting network surveillance or traffic analysis. Using TOR
makes it more difficult for Internet activity to be traced back to the user, this includes: visits to
websites, online posts, instant messages and other communication forms. TOR’s use is intended
to protect the personal privacy of users, as well as their freedom and ability to conduct
confidential communication by keeping their Internet activities from being monitored.

9. The TOR network can also be used to search the Surface Web anonymously. It
also allows users to visit websites published anonymously on the TOR network, which are
inaccessible to users not using TOR. This is one of the largest and most popular sections of the
Dark Web / Darknet.

10. TOR websites addresses do not look like ordinary URLs. They are composed of a
random-looking string of characters followed by “.onion”. An example of a hidden website
address on the TOR network is listed as being http://dppmfxaacucguzpc.onion/. This example
website will take a user to a directory of Dark Web / Darknet websites if the user has TOR
installed on their operating system. If the user does not have TOR installed then it is completely
inaccessible.

11. “onion” sites are a Top Level Domain (TLD) host suffix designating an
anonymous hidden service reachable through the TOR network. Such addresses are not actual
Domain Name Server (DNS) names, and the “.onion” TLD is not in the Internet DNS root, but
with the appropriate proxy software installed (TOR), Internet programs such as web browsers
can access sites with “.onion” addresses by sending the request through the TOR network. The

purpose of using such a system is to make both the information provider and the person
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accessing the information more difficult to trace, whether by one another, by an intermediate
network host, or by an outsider.

12. To access “.onion” sites, users follow these steps utilizing non-specific electronic
devices such as a desktop computer, laptop, tablet, etc.:

e Navigate to the TOR website through the Surface Web

e Download the TOR browser bundle and install just like any other computer software
program

e Start the TOR browser at which time the user will be connected to the TOR network

13. | One of the purposes of the Dark Web / Darknet is to provide a venue for private
communication when public communication is undesirable, dangerous or not permitted. Special-
purpose Dark Web / Darknet websites are most commonly used for illegal file sharing, which
includes copyrighted media, pirated software, malware programs and child pornography as well
as marketplaces for the sale and distribution of illegal narcotics.

CRYPTOCURRENCY (BITCOIN)

14. _ Bitcoin is a digital currency that is stored on Bitcoin addresses sitting in Bitcoin
wallets. All transactions moving Bitcoins from one address to another have to be electronically
signed and then are propagated to the Bitcoin network. The peer-to-peer nature of the network
does not mean that the knowledge about the transaction is limited to two parties — sender and
the receiver. On the contrary, all transactions are propagated across the whole Bitcoin network to
make sure every single participant hears about them.

15, Each of the participants keeps a log of all incoming and outgoing transactions.
However, due to network latency and other reasons, different users may keep track of different
sets of transactions at any moment.

16. Bitcoin is based on a combination of several technologies, one of which is a

public key cryptography dictating that two different keys are required to send and receive
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transactions. A public key can be distributed to anyone in order to receive a payment while the
private key that should only be known to its owner is used to create a signature for a transaction
that cannot be forged. Public key cryptography solves two fundamental problems all digital
currencies face: 1) It allows user to uniquely identify their addresses in the system and 2) It
prevents users to spend coins they do not own.

17. Both the private and public keys are stored in a Bitcoin wallet. One person can
possess any number of Bitcoin wallets and each wallet can store any number of private keys.
These private keys are used to generate public keys. A public key, when hashed, turns into a
Bitcoin address. Bitcoin addresses can be — with a bit of simplification — thought of as bank
accounts or email addresses as they can be publicly shown to anyone to receive payments.
However, unlike bank accounts or email addresses, which keep their content private, knowledge
of the Bitcoin address reveals Bitcoin balance and transactions sent to and from this address.

A private key acts as a lock for the Bitcoin addresses. The owner of a private key has access to
the funds stored on the corresponding bitcoin address. This means that the owner can move funds
from his address to any other address of his choice. It is not possible to derive a private key from
a Bitcoin address and therefore it is absolutely safe to share the Bitcoin address.

18. In addition, there are three most common representations of the public key ora
Bitcoin address. A public key is rarely found; what is usually discovered on paper or in
electronic form is a Bitcoin address:

1. Public key:
04e2ff72520d37da88c6 1d0baclcaabfccec4ffefd3 72d22247686affalebdeeas 2d0dd2 135
4ed98d2173abee0977ce4c62648290fb3 4fe 1 72701 53 bISbf1 3 2fc66

2. Normal Bitcoin address: /3mESVYvGym8 Rj 9ddHoagcNxmDs 1SaxbNJ
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3. Pay-to-script hash Bitcoin address: 3KgthGgaX2ngstNpvyv7LwpHSwe VeqGbpM
BITCOIN AND THE DARK WEB / DARKNET

19. Bitcoin is well established within the Dark Web / Darknet and has gradually
become a currency of choice for all sorts of criminal-to-criminal payments. While other
cryptocurrencies such as Litecoin, Dash or Monero have been accepted by some of the
marketplaces, the overwhelming majority of trade is still facilitated by Bitcoin. Commonly
traded, sold or purchased items on the Dark Web / Darknet include illegal narcotics, fake IDs,
counterfeit currency, compromised data including payment cards or accounts at online services,
malware kits, weapons, explosives and chemical substances.

20. Although most users of the Dark Web/ Darknet do not exchange child
pornography for monetary gain, commercial exploitation has been observed by law enforcement.
This may be in the form of a Bitcoin payment for access to pay sites for either live streaming of
child abuse or child pornography/exploitation images. More inventive approaches include
securing Bitcoin payments for crowdfunding Dark Web / Darknet websites, where offenders ask
for financial contribution to facilitate their access to minor victims, such as covering travel
expenses to the third world countries, in exchange for privileged access to a newly acquired
minor victim for a sexual encounter.

BITCOIN MINING

21. Unlike traditional currency, Bitcoin exists outside of national control. Ownership
of Bitcoin can be gained in three primary ways: 1) users can buy them 2) users can get paid in
them in return for a product or service 3) users can make them through a process called Bitcoin

mining. Bitcoin mining is so called because it resembles the mining of other commodities: it
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requires exertion and it slowly makes new currency available at a rate that resembles the rate at
which commodities like gold are mined from the ground.

22. Bitcoin mining is the mechanism used to introduce Bitcoins into the system:
miners are paid any transaction fees as well as a subsidy of newly created coins. This both
serves the purpose of disseminating new Bitcoins in a decentralized manner as well as
motivating people to provide security for the system. The Bitcoin system is set up to limit the
total number of Bitcoins that will ever be available in the world pool. That limit in total
availability artificially forces value on each coin because the resource is designed to have
scarcity.

23.  Bitcoins come into existence as the result of increasingly complex calculations
that incur both computing hardware and energy cost. The Bitcoin system requires that each new
Bitcoin is incrementally harder to “mine” than the preceding coin. This means that each new
Bitcoin requires more and more calculation power than the coins that came before. Given that
Bitcoin mining is designed to always need more computing power, a market was developed for
custom Bitcoin mining computers, machines built with custom Application Specific
Semiconductor (ASIC) chips designed to optimize the processing of the Bitcoin mining
algorithms. A Bitmain Antminer is a machine specifically sold with ASIC chips to enable users
to “mine” Bitcoins. Each coin has a cost production, the profit attributable to each coin,
therefore, can be calculated as the net selling price of the coin, minus the cost to produce.
Bitcoin mining profitability is all about getting the hash rate (speed of calculation) high enough,
while the cost of hardware and energy is low enough.

PROBABLE CAUSE
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24. Between January 2017 and March 2017, officers with the Rogers Police
Department, located in Benton County Arkansas, conducted numerous undercover purchases of
both Methamphetamine and Marijuana from a Target identified as Peng CHANTHALANGSY.
During said time period, an informant working for Rogers Police Department purchased a usable
amount of methamphetamine from CHANTHALANGSY from on three separate occasions in
exchange for a total of $220 dollars of undercover drug buy money. Moreover, Rogers Police
were able to purchase marijuana from CHANTHALANGSY on 2 separate occasions in
exchange for a total of $120 of covert drug buy money. Based on the above-described
undercover purchases, on Monday March 13, 2017, an Arkansas state search warrant was applied
for and obtained for the residence of Peng CHANTHALANGSY located at 4007 West Olive
Street in Rogers, Arkansas. The residence was suspected of containing evidence of possession of
a controlled substance with the intent to deliver (Methamphetamine) and possession of drug
paraphernalia. Drug Task Force Officers (TFO) had previously conducted two controlled
transactions with CHANTHALANGSY, with the most recent being on March 13", 2017,
involving the controlled purchase of 10 grams of methamphetamine. The State authorized search
warrant allowed for the confiscation of, among other things, digital devices capable of containing
evidence of drug transactions.

25. At approximately 1859 hours, a knock and announce search warrant for the
residence located at 4007 West Olive Street, Rogers, Arkansas was executed. Of note, law
enforcement spoke with CHANTHALANGSY‘s adult nephew who stated CHANTHALANGSY
made money from mining Bitcoin. During the search, law enforcement located approximately
131 grams (4.620z) of marijuana, approximately 43.9 grams (1.60z) of methamphetamine,

approximately 1.2 grams of cocaine, and $17,320 in U.S. Currency (including $3,200 in
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previously recorded drug buy money). While searching the garage of the residence law
enforcement also located six operating “Bitmain Antminers” set up and organized on white
plastic crates and each miner was connected to a separate 1300 watt power supply. It should be
noted that the miners were connected directly to each other through a series of wired system
links. Each miner was also connected to a 16 port desktop switch/router via Ethernet cable. The
desktop switch/router appeared to be connected to the cable or internet access line of the
residence. It was discovered that the set-up is commonly referred to as a Bitcoin mine, which are
processors that confirm or deny internet transactions that use the virtual currency Bitcoin. For
every transaction the processors confirm the owner/user of the “Antminers” accrue, a certain
amount of Bitcoin can be used to purchase physical items over the internet or sold/traded for
U.S. Currency. Multiple “Antminers” that were operating in the garage had an address label
attached to them that displayed “Chanthalangsy, Peng 4007 W Olive St Rogers, AR 72756”.
Law enforcement also located a black Cyborg iBuyPower I-Series 901 computer in
CHANTHALANGSY’s bedroom. Consequently, all digital devices were seized pursuant to the
search warrant, as possibly containing evidence of drug transactions.

26. On Thursday, March 16, 2017, TFO Dennis Schumacher, a digital forensic
examiner with HSI, began examining the digital storage devices confiscated from the West Olive
Street address for evidence pertaining to the sale, purchasing, and distribution of drugs. During
the examination, it was noted that the iBuyPower CyborgX computer contained two hard drives,
one was Kingston 120GB Solid State drive and the other was a Hitachi 1TB hard drive. The
Hitachi 1TB Hard Drive was imaged on March 17, 2017 and the Kingston 120GB Solid State
drive was imaged March 20, 2017. During this process, the examiner noted that the device(s)

contained relevant information pertaining to the drug case. However, of significance to the
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current warrant request, the examiner located on the Hitachi 1TB hard drive several images of
child pornography along with multiple child erotica images. Consequently, the examiner stopped
the review of the seized items in order to obtain a federal search warrant allowing for the search
for child pornography. One of the particular images the examiner viewed prior to stopping his
examination was described as a 3 to 4 years old completely nude female standing with one leg on
a stool and the other leg extended up to what appears to be a counter. Per TFO Schumacher, the
pose of the minor depicted in the image was provocative, in that the focal point of the image is of
the minor’s genital area. The title of the image is “Russian Lolitas. Professional Series”,
www.loliaspro.com.

27, On March 23, 2017, based on the child pornography image located on
CHANTHALANGSY’s seized device, your Affiant applied for and received a federal search
warrant for possible violations of 18 U.S.C. 2251 and 2252.

28. On March 24, 2017, after receipt of the newly acquired federal search warrant,
TFO Schumacher resumed his forensic examinations on CHANTHALANGSY’s iBuyPower
CyborgX computer containing the two hard drives, Kingston 120GB Solid State drive and
Hitachi 1TB hard drive. TFO Schumacher went back to the location where he had seen the child
pornography images on the Hitachi 1TB hard drive, “\here\New folder\”. While looking through
a few of the files, TFO Schumacher found several images of child pornography. These images
consisted of pictures and videos with children between three (3) and twelve (12) years of age.

29. On March 27, 2017, TFO Schumacher provided your Affiant with a copy of a
disk containing approximately one-hundred (100) images of suspected child pornography
obtained from CHANTHALANGSY’s Hitachi 1TB hard drive. Your Affiant reviewed the

images and videos and confirmed them to be child pornography.
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30.

31.

Three (3) of the videos of child pornography reviewed are described as being:
Video: “Syo anal and vaginal”
Length: :46

Description: This video depicts a prepubescent minor female approximately four
(4) to six (6) years of age lying on a bed completely naked with an adult male’s
erect penis penetrating her vagina and anus.

Video: “Pthc k4 — 8yo Preteen Amy In The Bath And Bedroom”
Length: 5:38

Description: This video depicts a prepubescent minor female approximately seven
(7) to nine (9) years of age completely naked in a bathtub exposing her vagina and
anus to the camera while rubbing her vagina with her hand. The next scene of the
video depicts the same prepubescent minor female lying on a bed completely
naked with a blindfold on and performing oral sex on an adult male’s erect penis.

Video:“_PTHC_Syo_kait_dad_exctasy_ Kathie getting a mouthful _of my_cu

33

m
Length: :40

Description: This video depicts a prepubescent minor female approximately four
(4) to six (6) years of age completely naked performing oral sex on an adult

male’s erect penis.

Your Affiant applied for and received a federal arrest warrant on

CHANTHALANGSY for violations of Title 18, United States Code, Sections 2252 and 2252A —

Receipt of Child Pornography and Possession of Child Pornography. On March 28, 2017,

CHANTHALANGSY was encountered and arrested on the outstanding warrant.

32.

On April 4, 2017, continued forensic examinations on CHANTHALANGSY’s

seized iBuyPower CyborgX computer containing the two hard drives, Kingston 120GB Solid

State drive and Hitachi 1TB hard drive revealed approximately ninety-one text (.txt) document
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files on the Hitachi 1TB hard drive. TFO Schumacher copied the .txt document files and
provided them to your Affiant for review.

33. A thorough review showed the documents are believed to have been created and
saved by CHANTHALANGSY due to some of the user names listed for various online
memberships and accounts such as: “peng]771” and “Pengja”. There is also a saved document
entitled “ups chat.txt” that appears to be a conversation between a United Parcel Service (UPS)
customer service representative and the user “Peng”.

34. Your Affiant also located and reviewed numerous saved text documents that
relate to the direct sale/distribution of illegal narcotics, exploitation of minors, Bitcoin mining
and Bitcoin possession through the use of the Surface Web and Dark Web / Darknet.

35. A text document entitled “bitmainwarranty.txt” contains a message sent to
Bitmain Warranty where CHANTHALANGSY inquires about the proper procedures that need to
be taken in order to return broken or non-working parts for his Antminer model S9 machine.

36. A text document entitled “‘coke.txt” contains a description that synthetic cocaine
is made up of bath salts with the ingredients Methylenedioxypyrovalerone (MDVP) and
Lidocaine.

37. A text document entitled “price habitsincorporated.txt” contains a list of what is

believed to be the current going rates for the packaging and sale of illegal narcotics:

lg 40
2g 65
3.5g ball 90
7g 1/4 ounce 155
14g 1/2 ounce 280
28g 1 ounce 500
56g 2 ounce 850
84g 3 ounce 1200
112g 4 ounce 1500

224g 8 ounce 2850
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1 lb 16 ounce 4500
38. A text document entitled “weed.txt” contains a description of what is believed to
be the current sized amounts for the packaging and sale of illegal narcotics:
“Using the standard for today’s dealings, one quarter ounce is 7 grams, and an ounce is 28
grams. A quarter pound will be 112 grams, and four of those, adding up to a pound, is 448
grams”
39. A text document entitled “zerggprice.txt” contains a list of what appears to be an
order form from one of the Dark Web / Darknet illegal narcotics marketplaces along with a
follow up message between CHANTHALANGSY and an unknown user:
.5 Grams Crystal Meth Ice Shards $30
1 Grams Crystal Meth Ice Shards $50

1.75 Grams Crystal Meth Ice Shards $60

3.5 Grams Crystal Meth Ice Shards $100
ESCROW Order

7 Grams Crystal Meth Ice Shards $190
7 Grams Crystal Meth Ice Shards
ESCROW Order

14 Grams Crystal Meth Ice Shards $355
14 Grams Crystal Meth Ice Shards
ESCROW Order

28 Grams Crystal Meth Ice Shards $550
28 Grams Crystal Meth Ice Shards
ESCROW Order

56 G FIRE METH **FREE EXPRESS** S840
56 G FIRE METH **FREE EXPRESS**
ESCROW Order

112 G (40Z) FIRE METH **FREE EXPRESS** $1600
112 G (40Z) FIRE METH **FREE EXPRESS**
ESCROW Order

80Z FIRE METH**FREE EXPRESS* $2800
8OZ FIRE METH**FREE EXPRESS*
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ESCROW Order

1LB (1602) FIRE METH **FREE EXPRESS** $5000
1LB (1602) FIRE METH **FREE EXPRESS**
ESCROW Order

“Hey hows it going? For the half pound it would be 3400 and for the full it would be 6000.....Let me
know and | could put up a custom listing..”

40. Your Affiant also located and reviewed numerous text documents entitled
“biitcoin”, “bitcoiin”, “bitcoin difficulty history”, “bitcoin forum’, “bitcoin”, “bitcoinn”,

39 6 99 66.

“bitsino”, “coinbase”, “miner”, “monero” and “wallett’ which contained what is believed to be
usernames, passwords and logins for cryptocurrency banks, websites and SUBJECT

ACCOUNTS. Within these text documents were the following Bitcoin digital currency wallet

numbers:

- IKXhP8nUtNzjJKFGQQXDFubhMQ8LfVdKJ2Y

- NFAUpuGFa2HHygsHTsYZp7rLki89V Zb5 ye

- MyJFDbxQbNh6jUJVwX9yJL2kaA febd9uwr

- 42DpM2KJjD2HVVAqLasNpJ2AF9fiw72x9j GEHZA7DtXM YjUgqM Y g6D3 WbwaVe4vU
MveKAZAiA4j8xgUi29T pK Xpm3y9FQS2

- 17F5rCCPArYwg4pN4amA4naG99D3cCu6F7

41. A text document entitled “torr.txt” contains a link to the Dark Web / Darknet of
“http://mt3 plrzdiyqf6jim.onion/renewal/payment.php with a username and password login for
the site believed to have been created by CHANTHALANGSY. Your Affiant then conducted
authorized undercover operations and gained access to the above referenced TOR site through a
fictitiously created user profile. Upon entering the site, your Affiant observed numerous videos
entitled and containing child pornography. One of the videos observed by your Affiant was
titled “(pthc) 9yo Jenny blows Dad & Dog.mpg”. Screen shots of the video depicted a
prepubescent minor female performing oral sex on an adult male’s penis. Further review of the

site showed that users can gain VIP access by making payments through Bitcoin wallets of 0.04
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for 110 downloads, 0.06 for 230 downloads and 0.08 for six months of unlimited downloads.
The text file with the Dark Web / Darknet site saved by CHANTHALANGSY containing the
terms “renewal/payment” is apparent to your Affiant to be payments made through SUBJECT
ACCOUNTS for access to child pornography sites.

42. A text document entitled “torrrr.txt” contains a link to the Dark Web / Darknet of
“http://childsplayboq3sq.onion/” with a username and password login for the site believed to
have been created by CHANTHALANGSY. Also located within the text document were lists
called “cofeebeans pw verschoorloeasains pthccc/girlpa BEcode yw....LostP@ChildsP jam
Dune@ChildsPlay”. Your Affiant then conducted authorized undercover operations and gained
access to the above referenced TOR site through a fictitiously created user profile. Upon
entering the site, your Affiant observed that there were various channels and forums all
centralized around child exploitation. Your Affiant then entered a chat room titled “Baby and
Infants” and found posts related to child pornography such as “this board is for the posting of
images and videos of newborns and infants”. The users in the chat room communicating were
listed by their user name @ChildsPlay. Your Affiant believes that the saved lists within the text
documents were Dark Web / Darknet users within a child pornography site that
CHANTHALANGSY was having conversations with online.

43. A text document entitled “torsite.txt” contains the following list of Dark Web /
Darknet sites. Your Affiant then conducted authorized undercover operations and gained access
to the below referenced TOR sites through a fictitiously created user profile and described them
below.
alphabaywyjrktqn.onion
stbux7|rtpegcra2.onion

jsbpbdf6mpw6s20z.onion
zdfvqospmrbvzdn3.onion
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sszoxp4dqmt24jng.onion

nracund2vx6lxzck.onion

lo4wpvx3tcdbqra4.onion

All of the listed sites directed your Affiant to the “AlphaBay Market” which showed to be a
marketplace for sale or purchase of illegal narcotics, weapons, fraudulent documents, and
hacking tools through SUBJECT ACCOUNTS by CHANTHALANGSY.

44. A text document entitled “ttt.txt” contains the Dark Web / Darknet site
“http://pwoah7foa6au2pul.onion/register.php” with a username and password for the site. Your
Affiant found that this is one in the same site linked to the “AlphaBay Market” believed to have
been utilized by CHANTHALANGSY to purchase illegal narcotics through SUBJECT
ACCOUNTS for distribution in the Northwest Arkansas area.

45. Your Affiant is aware that cryptocurrency (Bitcoin) exchangers and Dark Web /
Darknet account users must use a computer or other electronic device, such as a smartphone, to
conduct transactions with their Bitcoin customers and Dark Web / Darknet associates. The
Bitcoin exchangers also must establish electronic wallets to receive and send the Bitcoins during
these transactions. These wallets are electronic in nature and may be stored on mobile devices
(phones or tablets), external or removable media, and/or computers. Your Affiant is also aware
that Bitcoin exchangers and Dark Web / Darknet users can back-up wallets or usernames and
passwords to paper printouts that would contain information to restore the wallet or user account
in an electronic form. Passwords for access to Bitcoin wallets and Dark Web / Darknet user
accounts are typically complex and are often written down or saved in an accessible manner on
paper or on some electronic device. Due to the inherent illicit and anonymous nature of these

Bitcoin wallets and Dark Web / Darknet accounts there is no identified service provider for these

accounts, legitimate, compliant or not, to which legal process may be served, and your Affiant
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believes that a seizure warrant served on the owner of the wallets and accounts is the only
manner to recover digital currency and investigate further child exploitation contained therein.
CONCLUSION
46. Based on the above facts, your Affiant respectfully asserts there is probable cause
that contained within the SUBJECT ACCOUNTS contain digital currency and evidence
regarding the purchase or sale of illegal narcotics/child pornography involved in violations of

Title 18, United States Code, Sections 2251 and 2252 and Title 21, United States Code, Sections

he,

Gerald Faulkner, Special Agent
Homeland Security Investigations

841.

Affidavit subscribed and sworn to before me this Mt (C\. day of Aas \ 2017

Aad A. \\itdowonu
Erin L. Wiedemann
United States Magistrate Judge
